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 6                                UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA
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 9   JAMES O’DOAN,                                    Case No. 3:17-cv-00293-LRH-VPC

10                                          Plaintiff, ORDER

11          v.

12   RENO POLICE OFFICER JOSHUA
     SANFORD; RENO POLICE OFFICER CADE
13   LEAVITT; CITY OF RENO, a political
     subdivision of the State of Nevada; and JOHN
14   DOES I through X, inclusive,

15                                       Defendants.

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17          Plaintiff James O’Doan moves for leave to file two exhibits under seal with his response
18   to the pending motion for summary judgment. ECF No. 43. The first exhibit (Exhibit 13)
19   contains O’Doan’s medical records from Renown Regional Medical Center. Id. The second
20   exhibit (Exhibit 14) contains O’Doan’s discharge papers from Renown Regional Medical Center.
21   Id. The court now grants the motion, finding that compelling reasons support filing the exhibits
22   under seal.
23   I.     BACKGROUND
24          O’Doan sues the City of Reno and two Reno police officers for violations of the
25   Americans with Disabilities Act, 18 U.S.C. § 1983, and state law. ECF No. 7. He alleges the
26   violations occurred during an interaction between the parties in July 2016. Id. Due to the nature
27   of his claims, this matter necessarily involves O’Doan’s medical history. See ECF Nos. 7, 43.
28   The medical history includes records and discharge papers that contain confidential information
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 1   but relate to the underlying incident. See ECF Nos. 42, 43. In August 2017, the parties stipulated

 2   to a protective order to safeguard confidential information obtained in connection with this case.

 3   ECF Nos. 23, 25.

 4          Now, the defendants have moved for summary judgment. ECF No. 39. O’Doan filed a

 5   response in opposition to the motion. ECF No. 42. O’Doan included multiple exhibits to his

 6   response. ECF No. 42. Two of the exhibits—Exhibit 13 and Exhibit 14—contain the

 7   aforementioned confidential medical reports. ECF Nos. 42, 43. Because of the confidential

 8   nature of the two exhibits, O’Doan moves to file them under seal. Id.

 9   II.    LEGAL STANDARD

10          The Ninth Circuit recognizes a strong presumption of public access to judicial records.

11   See Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006). A party

12   moving to file a document under seal must overcome that strong presumption. Pintos v. Pac.

13   Creditors Ass’n, 605 F.3d 665, 678 (9th Cir. 2010) (quoting Kamakana, 447 F.3d at 1178). To

14   overcome the presumption in the context of a dispositive motion, the moving party must show

15   compelling reasons that support maintaining the secret nature of the documents. Kamakana, 447

16   F.3d at 1180. The compelling reasons must outweigh the public’s interest in having access to the

17   judicial records and in understanding the judicial process. Id. at 1178–79.

18          The moving party cannot meet its burden by asserting conclusory statements about the

19   confidential nature of the documents. Id. at 1182. The moving party must instead provide

20   “compelling reasons supported by specific factual findings.” Id. To grant a motion to seal court

21   documents, the court must cite the compelling reasons on which it basis its ruling and must not

22   rely on hypothesis or conjecture. Pintos, 605 F.3d at 679 (quoting Hagestad v. Tragesser, 49

23   F.3d 1430, 1434 (9th Cir. 1995)).

24   III.   DISCUSSION

25          O’Doan moves for leave to file under seal two exhibits attached to his response to the

26   defendants’ motion for summary judgment. The exhibits contain O’Doan’s medical records and

27   hospital discharge papers that relate to the underlying incident. O’Doan argues that compelling

28   reasons support his request, including: (1) the confidential nature of the documents based on the
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 1   medical content; (2) the protected status of the information based on the Health Insurance

 2   Portability Act of 1996; and (3) the protected status of the information based on the protective

 3   order. ECF No. 43. After reviewing the two exhibits, the court agrees. Both the content of the

 4   documents and the protected status of the documents support a decision to admit the exhibits

 5   under seal. Further, the decision minimally affects the public’s access to court documents,

 6   because the substantive response to the pending motion for summary judgment and the other

 7   attached exhibits will be left unsealed. The court therefore grants O’Doan’s motion for leave to

 8   file Exhibit 13 and Exhibit 14 under seal, finding that compelling reasons support maintaining

 9   the confidential nature of the documents despite the presumption favoring public access.

10   IV.    CONCLUSION

11          IT IS THEREFORE ORDERED that James O’Doan’s motion for leave to file exhibits to

12   response in opposition to motion for summary judgment under seal (ECF No. 43) is GRANTED.

13   Exhibit 13 (O’Doan’s medical records from Renown Regional Medical Center) and Exhibit 14

14   (O’Doan’s discharge papers from Renown Regional Medical Center) to O’Doan’s response

15   (ECF No. 42) may be filed and may remain under seal.

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17          IT IS SO ORDERED.

18          DATED this 21st day of May, 2018.

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20                                                        LARRY R. HICKS
                                                          UNITED STATES DISTRICT JUDGE
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